                Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 1 of 14




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        I
                   32nd JUDICIAL DISTRICT COURT FOR THE PARISH OF TERREBONNE

                                                  STATE OF LOUISIANA


             NO.


        !
                                                                                                    DIVISION


                                                  EVELYN ORDOYNE

                                                         VERSUS

                     INTERNATIONAL CHURCH OF THE FOURSQUARE GOSPEL d/b/a
                                            VISION CHRISTIAN CENTER
                                                    assd KIM VOISIN
        I
            FILED:
    11                                                                  DEPUTY CLERK


                                               PETITION FOR DAMAGES



                    NOW INTO COURT, through undersigned counsel, comes the Petitioner Evelyn


            Ordoyne, a person of the full age of majority and a resident of the Par ish of Terrebonne, State of


            Louisiana, who, wi :h respect shows the Court as follows:


                                                               I.


                    Made party Defenoants herein: INTERNATIONAL CHURCH OF THE FOURSQUARE


            GOSPEL, a non-profit corporation or co-op organized under the laws of the State of Calii unia,


            with its principal place of business in the City of Los Angeles, State of California, that for all


            relevant times conducted systematic and continuous acth ities giving rise to the subject matter of


    I
    ?
            this lawsuit within the Parish of Terrebonne, State of Louisiana; and KIM VOISIN, a person of


    j       the full age of majority dom cued in tne Parish of Terreoonne, Stare of Louisiana, who for all


            relevant times conducted systematic and continuous activities giving rise to the subject matter of


            this lawsuit within the Parish of Terrebonne, State of Louisiana. Defendants are liable, jointly
i
            and/or in solido, to the Petitioner for the following:




I                                                             II.


                    At all relevant times herein, International Churcn of the Foursquare Gospel owned,

I           controlled, operated, and exercised custody and garde over property open to the general public


            located at 4467 H'ghway 24, Bourg, Louisiana 70343, which was also managed by Kim Voisin


            at all relevant times nerein. This property is commonly known as “Vision Christian Center” and


            is part of the International Church of the Foursquare Gospel (henceforth the “Premises”)

i
                                                        RANDALL L. BETHANC0UR1
                                                           JUDGE - DIVISION E
                                             Case Number: 0191631 Transaction Date: 7/13/2021 Seq: 23 Page Sequence: 1
            Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 2 of 14


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    i                                                       III.


                On or about November 21, 2020, Evelyn Ordoyne was ^awfully at the Premises as a

        volunteer for the Defendants’ food bank.


                                                           IV.


                At the food bank, the Detendants erected a tent-like structure made of a tarp material,

        over concrete in an area where volunteers, including the Plaintiff, were expected to traverse. This

        tent-like structure was made by the Defendants or persons under their direct control, who hung

        the loose tarp material to the top of poles without properly seen ing or anchoring it down.


        Specifically, it was not tied down at the bottom and it was foreseeable that it would flap loosely

        and dangerously at or near the ground, creating a tripping hazard, as Ms. Ordoyne was carrying

        food to be distributed, the improperly hung and unsec urec tarp material flapped and caught her

        left leg, cau si ig ner io fall onto her left side on the pavement.
i
    I                                                       V.


    j           The tarp material tripped the Plaintiff, due to the Defendants’ negligence in the following

        non-exclusive respects:


I               A.      By failing to maintain proper control over the tarp material +o avoid its flapping




!i
                        near or on the ground and creating a trippi ig hazard;


               B.       By hanging the tarp material under their control in a reckless and negligent


                        manner without reasonable care for the safety o± persons at the Premises;

I
               C.       Bv failing to properly secure the tarp material;
I
               D.       By failing to warn of the danger:


               E.       By failing to properly train employees or volunteers to erect rent-like structures
j
i                      safely and properly under the circumstances;


i              F.      By fading to supervise persons under their direction and control;


!              G.      By failing to maintain the Premises in a reasonably safe condition, free of vices

                       that it knew or should have known existed;


!              H.      Defendanr further owed specific, statutory duties of care by virtue of its control

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                       over the Premises and activities conducted therein pursuant to LSA-CC Art 2315,


                       2317, 2317.1, and other applicable law.


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    I                                                     VI.


                In addition, at all relevant times herein, the Defendants are vicariously responsible for the
    5
        negligent acts and omissions and/or fault of persons under their direction and control pursuant to


        La. Civ. Code art. 2320, and other applicable law.
    I
                                                         VII.

    i           Defendants knew or should have known that making a tent-like structure out of a tarp like


    i   material, without properly securing it, over concrete, would create a foreseeable risk of tripping

        persons at the Premises. In particular, the tarp material was close to or touching the ground and
1
        was flapping loosely in the wind because it was not secured. The Defendants had actual notice


        because they created the condition. In the alternative, the Defendants had constructive notice

        because the condition was present for an unreasonable length of time and the Defendants were


        present and had the opportunity to discover the hazard. The Plaintiff, however, was unlikely to


        notice the hazard because she was focused on distributing the food and trusted the Defendants

    i   make the Premises safe.

                                                         VIII.


                The aforesaid incident occurred through no fault of Petitioner, Evelyn Ordoyne, but

5
        rather, solely through the fault of the Defendants by failing to use due care under the

        circumstances, as further enumerated above.


                                                          IX.
I
                As a result of the aforesaid incident, Evelyn Ordoyne sustained injuries to her body and
I
1       mind including, without limitation, injuries to her left shoulder requiring surgery, and neck,


        together with past and future mental anguish and physical suffering; disability; past and future
I
        loss of enjoyment of life; and past and future expenses for medical care; disfigurement;
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        impairment; and pecuniary damages, all of which entitles Petitioner, Evelyn Ordoyne, to recover

!       from Defendants the damages as are reasonable in the premises.

I                                                         X.



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                The Plaintiffs’ damages exceed the sum of $50,000 exclusive of judicial interest and


        costs and there is a right to trial by jury.
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I                                           Case Number: 0191631 Transaction Date: 7/13/2021 Seq: 23 Page Sequence: 3
                Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 4 of 14
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!                  WHEREFORE, Petitioner, Evelyn Ordoyne, prays that Defendants, International Church


            of the Foursquare Gospel and Kim Voisin, be served with a certified copy of this petition, and


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            after being duly cited to appear and answer hereto, and after the expiration of all legal delays and

            due proceedings are had, that there be judgment rendered herein in favor of Petitioner, Evelyn

            Ordoyne, and against Defendants, International Church of the Foursquare Gospel and Kim

            Voisin, for damages as are reasonable in the premises; said judgment to bear legal interest from
j
            the date ofjudicial demand until paid and for all costs of these proceedings.




                                                           RESPECTFULLY SUBMITTED:
                                                           MORRIS BART, LLC
                                                           ATTORNEY FOR PLAINTIFF
                                                           601 POYDRAS STREET, 24TH FLOOR
                                                           NEW ORLEANS, LA 70130
                                                           TELEPHONE: (504) 525-8000
                                                           FACSIMILE: (800) 878-8937
                                                           E-MAIL: mhemmer@morrisbart.com




                                                     BY:
I                                                          MATTHEW D. TlEMMfeR, N0>^4300
                                                           C. FAYE SHEETS, NO J^T^672



j
                   PLEASE SERVE:


I                  International Church of the Foursquare Gospel
                   Through its Registered Agent:
                   Kim Voisin
                   4467 Highway 24
                                                                            J?ILEQ
                   Bourg, LA 70343


J                  And
                                                                               /(Deputy Cl#k of Court
                                                                               UTarish of Terrebonne LA
                   Kim Voisin
                   344 Bayou Blue Road
                   Houma, LA 70364




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                                            Case Number: 0191631 Transaction Date: 7/13/2021 Seq: 23 Page Sequence: 4
                         Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 5 of 14

I


I                    Morris Bart. LA
         Terry B. Loup. LA, MS. TX
             Glenn Lieberman, LA        MORRIS BARTclc
I   Kenneth M. Altman. LA. MS, FL
                                        ATTORNEYS                AT     LAW
           Craig A. Gentry, LA. MS



!
           Janet Buggee Avery. LA
        James L. Leathern, LA. TX       Pan American Life Center, 601 Poydras Street, 24th Floor
            Roderick A James. LA        New Orleans, Louisiana 70130-6036
      Daniel Snellings, LA. MS. FL



I
    Dennis N. Thomson, LA, AL. AR
          Abby L. Roberts, LA. AR       Telephone 504.525.8000
               Paige Patriarca. LA      Fax 504.599.3380
            Patrick H Gibbons. LA
       Esmeralda Graham, LA. NM



I             Lauren Pilie, LA. GA
          Przemek Lubecki. LA. IL
            Danielle Smith. LA. TX
                                                                                               Writer's Direct Dial: (504) 599-3339
                                                                                             Writer's Direct Facsimile: (800) 878-8937
                                                                                                E-mail: mhemmer@morrisbart.com                                TERREBONNE CLK PF rpr
                                                                                                                                                                              13 2021510)5-
     Matthew Hemmer, LA. OH. KY
               Kathryn Landry. LA
                 Austin Marks. LA
                 Erin E. Cloyd. LA                                                                         July 12, 2021
I              Sharika L. King. LA
         Reshonda Thompson. LA
                      Kim Paul. LA

I              Linda Gonzales. LA
                    J.D. Parker. LA
                Kelly Johnson, LA
                                        VIA FEDERAL EXPRESS


I                                       Clerk of Court
            Alaina Brandburst. LA
         Lindsey Topp, LA, MS. CA
                 Adam Bosso. LA         32nd Judicial District Court, Terrebonne Parish
                 Tamyra Craig. LA
                 Betsy Barnes. LA       7856 Main Street
            John Richards. LA. AR
          Lauren Sullivan, LA, MS       Houma, LA           70360
           Richard (Rick) Root. LA
               Paul Villalobos. LA
     John Enochs, LA. TX. MS. KY
          Spencer Gulden. LA, TX
                                                  RE:         EVELYN ORDOYNE v. INTERNATIONAL CHURCH OF THE
               Sarah Constant. LA
                                                              FOURSQUARE GOSPEL and KIM VOISIN
j            Faye Sheets, LA. TN
             Rebekah Capers. LA
                                                              Case No.: , Division
              Jacob Goehring. LA
                                                              MB File No.: S21-3157NO


\
                Marquita Cage. LA
          Taylor Burnham. LA. GA
               Rachael Fajoni, LA
                  Eve Vavnck. LA
                Alexander Lair, LA      Dear Sir or Madam:
                     Luc Zeller. LA
               Tara Melancon. LA
                Robert Warren. LA
           *8ert Greenwell. KY. NJ                Enclosed please find an original and three (3) copies of a Petition for Damages with
1           Jordan Lieberman, LA
             Alaraby Johnson. LA
                                        discovery to be served on Defendants with Petition. Please file into the record and return a
                                        conformed copy to us in the enclosed self-addressed stamped envelope.
                     OF COUNSEL

?
           Shannon Rodriguez. LA                  Also, enclosed please find our check made payable to the Clerk for $475 .QQ to cover
            Darryl Dungan, LA. FL
                 Kristi Tamura, LA      filing costs and service costs.
                  Kathryn Cox. LA
           Mark Lumpkin. MS, LA
            Stephanie Roberts. LA
      Edward L. Boudreaux. III. LA                Thank you for your cooperation in this matter.
              Melissa Herman. LA
               Melodie Molina. LA

j            Thelia Jean Eaby. LA
                Kevin Galatas, LA
                                                                                                                   Sincerely,
               Brejette Bundy. LA
                Paul Spradley. LA
              Detsha LaGarde. LA
              India Broussard. LA                                                                                      -MfT lc
I
               Philip K Mayer. LA
            Simone Cifuentes LA
                                                                                                                   Matthew D. Hemmer
    *not licensed to practice
                    in Louisiana
                                        MHEM/mjoh
               ADMINISTRATOR            Enclosure
                       Mark Duhon




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                                                                                                                 Lafayette                       Monroe                         Alexandria
      New Orleans                        Baton Rouge                     Shreveport
                                                                                                               337.233.4200                    318.807.1000                    3 18.561 .7700
      504.525.8000                       225.925.8000                   318.222.9000
                                                           Gulfport                           Pascagoula                        Haltiesburg                      Mobile
                         Lake Charles
                        337.477.4600                    228.432.9000                         228.762.4700                       601.583.8000                   251.433.2210
1                                                                       Montgomery                              Li (lie Rock                    Texarkana                        Toll Free
       Birmingham                         Huntsville
                                                                                                               50 1 .376.9000                  870.772.1669                    1.800.876.2244
      205.251.6700                       256.539.8500                   334 .834. 1 800
                                                                                          www.morrisbart.eom




                                                                       Case Number: 0191631 Transaction Date: 7/13/2021 Seq: 23 Page Sequence: 5
                              Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 6 of 14
    wm1
                                             LOUISIANA CIVIL CASE REPORTING
                                        Civil Case Cover Sheet - LA. R.S. 13:4688 and
                             Part G, §13, Louisiana Supreme Court General Administrative Rules

                This civil case cover sheet shall be completed by counsel for the petitioner, counsel's authorized
                representative, or by the self-represented litigant (if not represented by counsel) and submitted with the
                original petition filed with the court. The information should be the beat available at the time of filing.
                This information does not constitute a discovery request, response or supplementation, and is not
                admissible ar trial.


                Suit Caption:                                              OCcLec^^^


                                                                                              ><5/(7 TT’p (Lr° Spc /
                Court: -30 fyA TTv/c-                                  Docket Number;


                Parish of Piling;                kao                   Filing Date;


                Name of Lead Petitioner’s Attorney:                                Q -3 ' H WU,         f
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I               Name of Self-Represented Litigant:                     WM

I               Number of named petitioners:                                    Number of named defendants: q)

I                Type of Lawsuit:      Please check the categories which most appropriately apply to this suit
                (no more than 3 categories should be checked):

                   Auto: Personal Injury                                   Auto: Property Damage
                   Auto: Wrongful Death                                    Auto: Uninsured Motorist
                   Asbestos: Property Damage                               Asbestos: Personal Injury/Death
|                  Product Liability                                     [premise Liability
    j              Intentional Bodily Injury                               Intentional Property Dai     wRirir WTA
                   Intentional Wrongful Death           •                                         .ap
                                                                           Unfair Business Practice!
    I              Business Tort                                           Fraud
                   Defamation                                              Professional Negligence
                   Environmental Tort                                      Medical Malpractice            llui
                   Intellectual Property                                   Toxic Tort                          <
                    Legal Malpractice                                       Other Tort (describe below)'
                    Other Professional Malpractice                         Redhibition

    j               Maritime
                    Wrongful Death
                                                                            Class action (nature o f case)

    I
                    Genera] Negligence
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        I        Please briefly describe the nature of the litigation in one sentence of additional detail:
                                              I O L",       o      wy Wyl D *            Lt        \ vs-^1 A

    I                                  cyV              Tferptx/G                    n

                 hollowing the completion of this form by counsel, counsel’s representative, or by the self-represented

        1        litigant, this document will be submitted to the Office of the Judicial Administrator, Supreme Court of
                 Louisiana, by the Clerk of Court.

                Name, address and contact' information ofperson completing form:



        I        Name                           14                    s ignatwe_                                   —



                 Address                     I£A-S      s,y                     , Akin Oriels, i /t To/j>?
            !
                  Phone number:. O^'&ds- Sooo                        E-mail address; M,^o Ct (1         @              S        YP~


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Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 7 of 14




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                                                                                     32nd Judicial District Court, Terrebonne Parish
                                                                                                                                                           GENERAL ACCOUNT - VOID AFTER 120 DAYS
                                                                                     7856 Main Street
                                                                                     Houma, LA 70360
                                                                                     filing and service fee original petition
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                        Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 8 of 14

                                                                       Citation
    I
        EVELYN ORDOYNE                                                                                              Case: 0191631

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                                                                                                                   Division: E
         Versus
                                                                                                                   32nd Judicial District Court
                                                                                                                   Parish of Terrebonne
        INTERNATIONAL church of the                                                                                State ofLouisiana
        FOURSQUARE GOSPEL, ET AL




                                                         A Resident of Terrebonne Parish


        TO\   INTERNA TIONAL CHURCH OF THE FOURSQUARE GOSPEL
              THROUGH ITS REGISTERED AGENT
              KIM VOISIN
              FOR SERVICE OF PROCESS
              4467 HIGHWAY 24
              BOURG, LA 70343


                  YOU ARE HEREBY SUMMONED to comply with the demand of the Original Petition .filed on July 13, 2021, a true and

        faithful copy whereofaccompanies this citation, or to make an appearance byfiling an answer or other pleading thereto, in writing

        with the Clerk ofCourt at her office in the City of Houma, within fifteen (15) days after the service hereof;



        Yourfailure to so comply will subject you to the penalty ofhaving a defaultjudgment rendered against you.


                              Witness my hand and official seal this 1 6th day ofJuly, 2021.



                                                                                   Theresa A. Robichaux, Clerk of Court


                                                                                                W               M. Dardar
                                                                                   BY:
                                                                                                   Deputy Clerk of Court
                                                                                                                                                  £
        Requested By: Mr. Matthew D. Hemmer
                       Attorney al Law
                                                                                                                                                      >
                       601 Poydras Street, 2/* Floor
                       New Orleans, LA 70130
                       (504)525-8000




        Returned andfiled:
                                                                                                                                                  I!
|       Deputy Clerk ofCourt




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                                                                   [ FILE COPY ]                                                                  I
                                                          Case Number: 0191631 Transaction Date: 7/16/2021 Seq: 10 Page Sequence: 1
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                                                                      Citation


        EVELYN ORDOYNE                                                                                            Case- 0191631




                                                                                                                 Division: E
         Versus
                                                                                                                 32ni Judicial District Court
                                                                                                                 Parish of Terrebonne
        INTERNATIONAL CHURCH OF THE                                                                              State ofLouisian
        FOURSQUARE GOSPEL, ET AL




                                                        A Resident ofLAFOURCHE Parish

        TO-.    KIM VOISIN
                344 BAYOU BLUE ROAD
                HOUMA, LA 70364




                  YOUARE HEREBYSUMMONED to comply with the demand ofthe Original Petition .filed on July 13, 2021, a true and

        faithful copy whereof accompanies this citation, or to make an appearance by filing an answer or other pleading thereto, in writing

        with the Clerk ofCourt at her office in the City ofHouma, withinfifteen (15) days after the service hereof;


        Your failure to so comply will subject you to the penalty oj having a defaultjudgment rendered against you.


                               Witness my hand and officii seal this Iff11 day ofMy, 2021.


                                                                                  Theresa A. Robichaux, Clerk of Court
                                                                                                                                                        I
                                                                                               /g/             M
                                                                                  BY:
                                                                                                 Deputv Clerk ofCourt


        Requested By Mr. Matthew D. Hemmei
                       Attorney at Law
                       601 Poydras Street, 24"1 Floor
                       New Orleans, LA 70130
                       (50^525-8000




    J   Returned anc        ’ed:




        Deputy Clerk ofCourt




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                ‘—      •                                 Case Number: C   oY9763r^aff^^m^t^4w2Q2.1-_Se( 9 Page Sequent^: 1
                    Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 10 of 14
Pl<elgP
                Citation onRequests for Admissions, Interrogatories, and Requests for
                                                   Production of Documents

     EVELYN ORDOYNE                                                                             Case- 9191631




                                                                                                Division: £
     Versus
                                                                                                52"'' Judicial District Court
                                                                                                Parish of Terrebonne
     INTERNATIONAL CHURCH OF THE                                                                State of Louisiana
     FOURSQUARE GOSPEL. ETA L




                                                          A Resident of TERREBONNE Parish


     TO:    INTERNA TIONAL CHURCH OF THE FOURSQUARE GOSPEL
            THROUGHITS REGISTERED AGENT
            KIM VOISIN
            FOR SERVICE OF PROCESS
 I          4467 HIGHWAY 24
            BOURG, LA 70343


              YOU ARE HEREBY SUMMONED to comply with the Requests for Admissions, Interrogatories, and

     Requestsfor Production ofDocumentsfiled on July 13, 2021, a true andfaithful copy whereofaccompanies this

     Citation, and to answer the same within 30 days after the service hereon




             Witness my hand and official sea1 this iffi day ofJuly, 2021.


I                                                                      Theresa A Robichaux, Clerk of Court

                                                                       BY:         Lsalca       Btardar
                                                                                 Deputy Clerk of Court



 |   Requested by:Mr Matthew D. Hemmwe
                  Attorney at Law
                  601 Poydras Street, 24th Floor
                  New Orleans, LA 70130
                  (504)525-8000




     Returned andfiled:




           Deputy Clerk




                                                          [ FILE COPY ]



                                                     Case Number: 0191631 Transaction Date: 7/16/2021 Seq: 7 Page Sequence: 1
                    Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 11 of 14
P®W
                Citation onRequests for Admissions, Interrogatories, and Requests for



     EVELYN ORDOYNE
                                                   Production ofDocuments


                                                                                                Case: 0191631
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                                                                                               Division: E
     Versus
                                                                                               32nd Judicial District Cour
                                                                                               Parish of Terrebonne
     INTERNATIONAL CHURCH OF THE                                                               State of Louisiana
     FOURSQUARE GOSPEL, ETAL




                                                          A Resident ofLAFOURCHE Parish

     TO:    KIM VOISIN
            344 BAYOU BLUE ROAD
            HOUMA LA 70364



I
             YOUAREHEREBYSUMMONED to comply with the Requestsfor Admissions, Interrogatories, and

     Requests for Production of Documents filed on July 13, 2021, a true anafaithful copy whereofaccompanies this




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     Citation, and to answer the same within 30 days after the service hereon



             Witness my hand md official seal this Jd* day ofMy, 2021.




II
                                                                      Theresa A. Robichaux, Clerk of Court

                                                                      BY:       w           M» Panfaff
                                                                                 Deputy Clerk of Court
                                                                                                                             I
                                                                                                                             t

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!
     Requested by:Mr. Matthew D. Hemmwe
                 Attorney at Law
                  6Q1 Poydras Street, 24th Floor
                  New Orleans, LA 70130
                  (504)525-8000




           Deputy Clerk



                                                                                                                             I




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I                                                         [ FILE COPY ]



                                                     Case Number: 0191631 Transaction Date: 7/16/2021 Seq. 6 Page Sequence: 1
                                                                                                                             i
Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 12 of 14
                  CERTIFICATE OF SERVICE
           I Certify ttial a copy of the foregoing pleading
         ha been served upon counsel for all Sic parties
         to this proceeding, by trailing rhe same to each
         by First Class United States Mail, property
         addressed and nostagg nr^’d on this
         day of     / ~          '                20
                  TWSCTHMWT




                            Case Number: 0191631 Transaction Date: 7/16/2021 Seq: 5 Page Sequence: 1
                   Case 2:21-cv-01571-ILRL-JVM Document 1-3 Filed 08/19/21 Page 13 of 14
'ww                                                                                                                 Gee « 4a.qe>

                                                                  Citation


     EVELYN ORDOYNE                                                                                           Case: 0191631




                                                                                                              Division: E
     Versus
                                                                                                              32nl1 Judicial District Court
                                                                                                              Parish of Terrebonne
    INTERNA TIONAL CHURCH OF THE                                                                             State ofLouisiana
    FOURSQUARE GOSPEL, ETAL




                                                    A Resident of Terrebonne Parish                 F SKSOiAL
    to-   INTERNATIONAL CHURCH OF THE FOURSQUARE GOSPEL
                                                                                                 7-       f
          THROUGH ITS REGISTERED AGENT
          KIM VOISIN
          FOR SERVICE OF PROCESS
          4467 HIGHWAY 24
          BOURG, LA 70343


              YOU ARE HEREBY SUMMONED to comply with the demand ofthe Original Petition , filed on July 13, 2021, a true and

    faithful copy whereof accompanies this citation, or to make an appearance by filing an answer or other pleading thereto, in writing

    with the Clerk of Court at her office in the City fHouma, withinfifteen (15) day^ after the service hereof;
                                                                                                                                              i
    Yourfailure to so comply will subject you to the penalty ofhaving a default judgment rendered against you.


                          Witness my hand and official seat this 16,h day ofJuly, 2021.



                                                                              Theresa A. Robichaux, Clerk of Court



                                                                              BY:       IO. YL, LWkaA
                                                                                             Deputy Clerk ofCourt


    Requestea By: Mr. Matthew D. Hemmer
                   Attorney at Law
                   601 Poydras Street, 24th Floor
                   New Orleans, LA 70130                                                                             F5
                   (504)525-8000
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                                                       Case Number: 0191631 Transaction Date: 7/26/2021 Seq: 4 Page Sequence: 1
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             •        Cita tion on Requests for Admissions, Interroga Tories, and Requests for



      EVELYN ORDOYNE                                                                                 Case: 0191631




                                                                                                     Division: E
          Versus
                                                                                                     32nd Judicial District Court
                                                                                                     Parish of Terrebonne
      INTERNATIONAL CHURCH OF THE                                                                    State ofLouisiana
      FOURSQUARE GOSPEL, ET AL




                                                                                                   PERSONAL ,
                                                                A Resident of TERREBONNE Parish


      TO; INTERNA TIONAL CHURCH OF THE FOURSQUARE GOSPEL
                 THROUGH ITS REGISTERED AGENT
                 KIM VOISIN
                 FOR SERVICE OF PROCESS
                 4467 HIGHWAY 24
                 BOURG, LA 70343


                   YOUARE HEREBY SUMMONED to comply with the Requests for Admissions, Interrogatories, and

  \   Requests for Production ofDocuments filed on July 13, 2021, a true andfaithful copy whereofaccompanies this
      Citation, and to answer the same within 30 days after the service hereon



                   Witness my hand and official seal this 16th day of July, 2021.


                                                                              Theresa A. Robichaux, Clerk of Court


                                                                              BY:
                                                                                     (\ Deputy Clerk of Court


      Requested by.Mr. Matthew D. Hemmwe
                         Attorney at Law
                        601 Poydras Street, 24th Floor                                                        a
                        New Orleans, LA 70130




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                        (504)525-8000
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      Returned andfiled:
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                      2 6 2C21      .

      Wfew          (h^u
      JDeputy Clerk




                                                                 [ ORIGINAL ]



                                                          Case Number: 0191631 Transaction Date: 7/26/2021 Seq: 2 Page Sequence: 1
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